                         Case 3:13-cr-00057-WKW-CSC Document 95 Filed 11/20/13 Page 1 of 7
AO 245E.i     (Rcv. 09/11) Judgment in a Criminal Case
               Sheet I


                                           UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

              UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                  V.

               JAIMEE ELIZABETH HARRELL                                            Case Number: 3:13cr057-03-WKW

                                                                                   USM Number: 14447-002

                                                                                    Richard Keith
                                                                                   Defendants Aitcrney
THE DEFENDANT:
   pIeaded guilty to couffi(s)         3 of the Indictment on 05/31/2013
LI pleaded nolo con tencleic to count{ s
   which was eccpted by the LoUrt
LI was found guilty on count(s)
   alter a pica of not guilty

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended           Count

 18:513(a)                         Counterfeiting Securities of the State                                       01/30/2013              3
                                       and Private Entities




ü See additional cotint(s) on page 2


      The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

LI The defendant has been found not guilty on count(s)

LI Count(s)                                                LI is   LI are dismissed on the motion of ilie United States.

         It is ordered that the detndan oust notify the United States attorney for this district within 30 days of any change of name, residence,
or mahng address until all hoes, restitution, costs, and special assessments imposed by judgment
                                                                                          this          are full y paid. If ordered to pay restititlioi
the defendant must notify the court and United States attorney 01 material changes in economic eirci.inistances.

                                                                         11/15/2013
                                                                          Dole uF 1111j)OMt1011 &) J udinent




                                                                          '1&6: . . . . . .
                                                                          Signature olJudgc

                                                                         W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                          NalrL otludac                                Title oI'Jude


                                                                          -
                                                                          Date
                           Case 3:13-cr-00057-WKW-CSC Document 95 Filed 11/20/13 Page 2 of 7
AO 245B         (Rev. 09/11) Judgment jr
V1              Slice[ 2   hnpnsonmnl

                                                                                                                      Judgment Page: 2 of 7
     DEFENDANT: JAMEE ELIZABETH HARRELL
     CASE NUMBER: 3:1 3cr057-03-WKW



                                                               IMPRISONMENT

              The defendant is hereby commuted to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
     Time Served - 5 Months




             The court makes the following recommendations to the Bureau of Prisons:




             The defendant is remanded to the custody of the United States Marshal.

             The defendant shall surrender to the United States Marshal for this district:

             ü at                                   El a.m.       E p.m.       on -

                 as notified by the United States Marshal,

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             D before                      on                       -

                 as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office.


                                                                        RETURN

     I have executed this judgment as follows:




             Defendant delivered on                                                          to

     a-                                               , with a certified copy of this judgment.



                                                                                                      tJN!TED STA1ES MARSHAL


                                                                             By
                                                                                                  DEPUTY UNITED STATES MARSI LAL
                            Case 3:13-cr-00057-WKW-CSC Document 95 Filed 11/20/13 Page 3 of 7
AU 245B           (Rev 09/11) J udgLllco( in a Cirninai Case
V1                Sheet 3    Supervised Release


 DEFENDANT: JAIMEE ELIZABETH HARRELL                                                                                        Judgment Page: 3 of 7

 CASE NUMBER: 3:13cr057-03-WKW
                                                               SUPERVISED RELEASE
 Upon release li-orn imprisonment, the defendant shall be on supervised release for a term of:
 2 Years


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons,
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain front    unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable)

           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ijapphcoie.)

           The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, iapp0cah/e)

           The defendant shall comply with the requirements of' the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a LjUalifyinl l offense. (Check, itipphcah/ej

           The defendant shall participate in an approved program for domestic violence. (Check, ijapp/icahle)
         lfthisjudginent imposes a tine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional condition
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons eniiaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the proation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enfoi'cencnt officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
            permission of the court and

     13)    as directed by the probation officer, the defendant shall notiIi third parties of risks that may be occasioned by the defendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B        (Rev. 0911)Judgment in a Criminal Case
V1             Sheet 3C - Supervised Release


 DEFENDANT: JAIMEE ELIZABETH HARRELL                                                                        Judgment Page; 4 of 7

 CASE NUMBER: 3:13cr057-03-WKW

                                           SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program of drug testing if required to do so by the United States Probation Office for
     substance abuse and shall contribute to the cost of any treatment based on ability to pay and the availability of third-party
     payments.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                          Case 3:13-cr-00057-WKW-CSC Document 95 Filed 11/20/13 Page 5 of 7
AG 245[3         (Rev. 09i ) .liidment in a Criminal Case
V1               Sheet 5—Criminal Monetar y Penalties


                                                                                                                             Judgment Page: 5 of 7
     DEFENDANT: JAIMEE ELIZABETH HARRELL
     CASE NUMBER: 3:13cr057-03-WKW
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                                             Vine                             Restitution
 TOTALS                $ 100.00                                               S                                  $ $600.00


     Ll The determination ofrestilution is deferred until         -.                 An Amended Juciioeni in a Criminal Case (40 245c) will be entered
         after SUCII determination.

         The defendant must make rcstitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to iS U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                            Total Loss*                 Restitution Ordered Priorit y or Percenta2e
      Target Department Store                                                                                      $200.00
      2640 Enterprise Drive
      Opelika, AL 36801



      Old Navy                                                                                                     $100.00
     2263 Tigertown Parkway
      Opelika, AL 36801



     Office Depot                                                                                                  $100.00
     2061 Tigertown Parkway
     Opelika, AL 36801


 TOTALS                                                                                      $0.00                 $600.00


 LI      Restitution amount ordered pursuant to plea agreement S

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

              the interest requirement is waived for the               fine       V restitution.
              the interest requirement for the          LI fine   fl restitution is modified as follows:



* Findings for the total aJTr)uni of losses are required under Chaers 109A, 110, 1 bA, and I 13A of Title 18 for offenses committed on or after
September 13. 1994, but before April 23, 1996.
                      Case 3:13-cr-00057-WKW-CSC Document 95 Filed 11/20/13 Page 6 of 7
AU 24513     {Rv 0911 1) Jti0gmeiit in a CriniiniI Case
             Shed 513 - Criminal M ne1'rv Penalties

                                                                                                                 Judgment Page! 6 of?
 DEFENDANT: JAIMEE ELIZAI3ETH HARRELL
 CASENUMBER: 3:13cr057-03-WKW

                                                ADDITIONAL RESTITUTION PAYEES

                                                                                                                            Priority or
 Name of Payee                                                       Total Loss*            Restitution Ordered             Perceiitae

  Children's Place                                                                                      $100.00
  2107 Tigertown Parkway
  Opelika, AL 36801


  TJ Maxx                                                                                               $100.00
  2185 Tigertown Parkway
  Opelika, AL 36801




          * Findings for the total aODunt of losses are rcquiredundei- Chapters 109A, 110, 1 WA, and 113A of Title 18 for offenses conmitted
 on or after September 13, 994, but before April 23, 1996.
                          Case 3:13-cr-00057-WKW-CSC Document 95 Filed 11/20/13 Page 7 of 7
At) 24513       (Rcv. 09/1])Judgment in a Crrninal ('asc
VI            Sheet 6— Schedule ol Paments

                               Judgment Page: 70f 7
 DEFENDANT: JAIMEE ELIZABETH HARRELL
 CASE NUMBER: 3:13cr057-03-WKW


                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of S 700.00                        due immediately, balance due

            E         not later than               .                 or
            IV in accordance                     C, fl D,      fl E, or             F below; ui

 B     fl Payment to begin immediately (may be combined with                Ll C,           D, or         F below); or

 C     L Payment in equal                    (e g., weekW monthly, quarterly) installments of S                  -         over a period of
                      (e.g months or year., to commence                     (e.g.. 30 or 60 days) after the dale of this judgment; or

 D     fl Payment in equal                 -         (e g. weekl•, month/v quarterl y) installments of $                    -      over a period of
                  -       (e.g.. months or yea),.), to commence         --            (e g.. 30 or 60 Ja ys) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                  (e.g. 30 or 60 Ja ys) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monelary penalties:

             All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
             Office Box 711, Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid at
             the rate of not less than $25.00 per month.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 Imprisonment. All crimnal monetary penalties, except those payments m aide through the Federal Bureau of Prisons' )nmate Financial
 Responsibility Program. are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




       Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (inc1u-/tng defendant number). Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

        Defendant                      Case Number             Total Amt.           J&S Amt.             Payee
        Jaimee Harrell                 3:1 3cr057-03-WKW       600.00               600.00               see pages 5 and 6
        Charis Boveland                3:1 3cr057-01 -WKW       600.00               600.00              see pages 5 and 6
        Kevin Bolton                   3:1 3cr057-02-WKW       600.00               600.00               see pages 5 and 6
 D The defendant shall pay the cost of prosecution.

 fl The defendant shall pay the following court cost(s):
 E     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
